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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
 3   2300 Tulare St., Suite 330
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 4   Telephone: (559) 487-5561
 5   Counsel for Defendant
     ALFREDO F. RINCON
 6
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                    )       No. 1:08-cr-0224 OWW
                                                  )
12                         Plaintiff,             )       DEFENDANT’S WAIVER OF PERSONAL
                    v.                            )       PRESENCE IN OPEN COURT AND
13                                                )       ORDER THEREON
                                                  )
14   ALFREDO F. RINCON,                           )       Hon. Oliver W. Wanger
                                                  )
15                         Defendant.             )
                                                  )
16
17          Defendant, ALFREDO F. RINCON, hereby waives his right to be personally present in open court
18   upon the hearing of any pre-trial proceeding in this cause which involves only a conference or a hearing on
19   a question of law, or superceding information. This request is made pursuant to Fed.R.Crim.P. 43(a)(1),
20   (b)(3) and (c)(2).
21          Defendant Rincon hereby requests that the court proceed in his absence on every occasion which
22   the court may permit pursuant to this waiver. He agrees that his interests will be deemed represented at all
23   times by the presence of his attorney, the same as if defendant were personally present. Defendant further
24   acknowledges that he has been advised of his rights under the Speedy Trial Act, 18 U.S.C §§ 1361- 3174,
25   ///
26   ///
27   ///
28   ///
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 1   and he authorizes his attorney to set times and delays under the Act without defendant being present.
 2
 3
 4   DATED: January 22, 2009                                     /s/ Alfredo F. Rincon
                                                                 ALFREDO F. RINCON
 5                                                               Defendant
 6
 7
 8   DATED: January 27, 2009                                     /s/ Eric V. Kersen
                                                                 ERIC V. KERSTEN
 9                                                               Attorney for Defendant
10
11
12
13                                                    ORDER
14          IT IS SO ORDERED.
15   Dated: January 30, 2009                          /s/ Oliver W. Wanger
     emm0d6                                      UNITED STATES DISTRICT JUDGE
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